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   4                                UNITED STATES DISTRICT COURT

   5                             SOUTHERN DISTRICT OF CALIFORNIA

   6

   7 IN RE:                                          Case No. 10 CV 1373 DMS BLM

   8 AMERICREDIT FINANCIAL                           FINAL ORDER AND JUDGMENT
     SERVICES, INC. LITIGATION
   9 Included Actions:                               Courtroom:      10
                                                     The Hon. Dana M. Sabraw
  10 Robert Smith v. AmeriCredit Financial
     Services, Inc., d.b.a. ACF Financial
  11 Services, Inc., United States District Court,
     Southern District of California, Case No.
  12 09-CV-01076-DMS-BLM

  13 Brandi N. Bankston v. AmeriCredit
     Financial Services, Inc. and DOES 1-10,
  14 inclusive, United States District Court,
     Northern District of California, Case No.
  15 09-CV-4892 SBA after removal from San
     Francisco Superior Court (Case No. CGC-
  16 09-493135)
  17 Juan A. Cárdenas and Florencia Herrera
     de Cárdenas v. AmeriCredit Financial
  18 Services, Inc. and DOES 1-10, inclusive,
     United States District Court, Northern
  19 District of California, Case No. 09-CV-
     4978 SBA after removal from San
  20 Francisco Superior Court (Case No. CGC-
     09-493248)
  21
     Stephen D. Aho v. AmeriCredit Financial
  22 Services, Inc., d.b.a. ACF Financial
     Services, Inc., United States District Court,
  23 Southern District of California, Case No.
     10-CV-1373-DMS-BLM
  24
     Michael Frank Machado v. AmeriCredit
  25 Financial Services, Inc., d.b.a. ACF
     Financial Services, Inc. / General Motors
  26 Financial Company, Inc., a business entity
     form unknown, United States District Court,
  27 Southern District of California, Case No.
     11-CV-1398-DMS-BLM
  28

       SMRH:405275986.1                                               FINAL ORDER AND JUDGMENT
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   1            THIS MATTER HAVING come before the Court for a hearing on October 5,
   2 2012 pursuant to the Motion for Final Approval of Class Action Settlement. The parties

   3 request this Court to determine that the Settlement Agreement and Release (“Agreement”)

   4 between the named plaintiffs ROBERT SMITH, BRANDI N. BANKSTON, JUAN A.

   5 CÁRDENAS, FLORENCIA HERRERA de CÁRDENAS, STEVEN D. AHO and

   6 MICHAEL F. MACHADO (“plaintiffs”), individually and on behalf of the proposed

   7 Plaintiff Settlement Class and defendant AMERICREDIT FINANCIAL SERVICES, INC.

   8 (“AmeriCredit”) is fair and reasonable and should be approved as being in the best

   9 interests of the Plaintiff Settlement Class; to determine the amount of attorneys’ fees and
  10 costs to be awarded to counsel for the Plaintiff Settlement Class, determine the amount of

  11 incentive awards appropriate for the Representative Plaintiffs; and in all other respects

  12 approve the settlement submitted to the Court in this matter. Notice having been given;

  13 application for attorneys’ fees, reimbursement of expenses and incentive awards, having

  14 been filed pursuant to the settlement and as set forth in this Court’s Preliminary Approval

  15 Order of June 11, 2012, and proof of notice having been filed with the Court; all persons

  16 present or represented at the hearing, who were entitled to be heard pursuant to the
  17 Settlement Notice, having been given an opportunity to be heard; counsel for the Parties

  18 having appeared in support of the settlement; and the Court having considered all

  19 documents filed in support of the settlement and fully considered all matters raised, and

  20 evidence and oral argument comprising the record herein, and presented to the Court,

  21

  22 IT IS ORDERED, ADJUDGED AND DECREED on this 5th day of October, 2012, that:

  23            1.         This Final Order and Judgment incorporates the Agreement, as submitted to the
  24 Court with the Motion for Preliminary Approval of Class Action Settlement, filed June 1, 2012

  25 [Doc.No. 195-4]. The capitalized terms used in this Order shall have the meanings and/or

  26 definitions given to them in the Agreement, as submitted to the Court with the Motion for
  27 Preliminary Approval of Class Action Settlement, filed June 1, 2012.

  28            2.         This Court has jurisdiction over the subject matter of this action and over all parties

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   1 to this action, including all members of the Plaintiff Settlement Class as that term is defined

   2 herein.

   3            3.         This Court certifies this action, for settlement purposes, as a class action.

   4            4.         The following Plaintiff Settlement Class, provisionally certified by the Court in its

   5 Order dated June 11, 2012 [Doc. No. 201], is hereby certified under Rule 23 of the Federal Rules

   6 of Civil Procedure, for settlement purposes only:

   7            All persons who were sent an NOI by AmeriCredit to an address in California at
                any time from March 25, 2005 through May 31, 2009, following the repossession
   8            or voluntary surrender of a motor vehicle, who were assessed a deficiency balance
                following the disposition of the vehicle, and against whom AmeriCredit has
   9            asserted, collected, or attempted to collect any portion of the deficiency balance.
                The Plaintiff Settlement Class excludes persons whose obligations have been
  10            discharged in bankruptcy, persons against whom AmeriCredit has obtained final
                judgments, and persons who received NOIs that denied them the right to reinstate.
  11
                5.         This Court finds on the record before it that the Plaintiff Settlement Class meets the
  12
       requirements for class certification for settlement purposes, because the Plaintiff Settlement Class
  13
       is so numerous that joinder of all members is impracticable.
  14
                6.         This Court finds on the record before it that the Plaintiff Settlement Class meets the
  15
       requirements for class certification for settlement purposes, because questions of law or fact
  16
       common to the issues to be reviewed in connection with the settlement predominate over the
  17
       questions affecting only individual members for the purpose of implementing the settlement in
  18
       accordance with the Agreement.
  19
                7.         This Court finds on the record before it that the Plaintiff Settlement Class meets the
  20
       requirement for class certification for settlement purposes, because plaintiffs’ claims are typical of
  21
       the claims of the Plaintiff Settlement Class as a whole.
  22
                8.         This Court finds on the record before it, that the Plaintiff Settlement Class meets
  23
       the requirements for class certification for settlement purposes, because the Representative
  24
       Plaintiffs and their counsel have adequately represented and will continue to adequately represent
  25
       and protect the interests of the Plaintiff Settlement Class for purposes of settlement.
  26
                9.         This Court finds on the record before it that the Plaintiff Settlement Class is
  27
       appropriate for certification for settlement purposes, because such class treatment is superior to
  28

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   1 other available methods for the fair and efficient adjudication of the issues before this Court at this

   2 time. Manageability issues do not prevent certification here, because there will be no trial.

   3            10.        The individual notice by mail, given to each member of the Plaintiff Settlement

   4 Class as set forth in the Agreement, constitutes the best notice practicable and is in full compliance

   5 with the requirements of the Federal Rules of Civil Procedure and due process of law.

   6            11.        This Court finds that the settlement and the Agreement are the product of arm’s

   7 length negotiations between the Parties and that the terms thereof are fair, reasonable, adequate,

   8 and in the best interests of the Plaintiff Settlement Class and are therefore approved and

   9 incorporated herein by the Court.
  10            12.        The settlement should be implemented and consummated in accordance with the

  11 terms of the Agreement. To the extent already implemented by the parties, such implementation is

  12 hereby approved and ratified by the Court.

  13            13.        Upon Final Approval, as defined in the Agreement, the Representative Plaintiffs

  14 and all Plaintiff Settlement Class members (except those who timely opt out) and their heirs,

  15 executors, estates, predecessors, successors, assigns, agents and representatives shall be deemed to

  16 have jointly and severally released and forever discharged AmeriCredit, and Related Parties as
  17 defined in Section 2.17 of the Agreement, from any and all claims that the Plaintiff Settlement

  18 Class member has, had, or may have in the future to the extent provided in the Agreement. In

  19 addition, the Representative Plaintiffs will be deemed to have fully released and discharged

  20 AmeriCredit and Related Parties from any claims, known or unknown, as provided in Sections

  21 4.01 and 4.02 of the Agreement.

  22            14.        Plaintiff Settlement Class Members expressly waive and relinquish any and all

  23 rights and benefits which they may have under, or which may be conferred upon them by, the

  24 provisions of Section 1542 of the California Civil Code, as set forth in Sections 4.01 and 4.02 of

  25 the Agreement.

  26            15.        This consolidated Action is hereby dismissed, on the merits, with prejudice, on the
  27 terms set forth in the Agreement, and this Court hereby orders the Parties to dismiss with prejudice

  28 all of the AmeriCredit NOI Cases (as defined in the Agreement), and associated appeals and cross-

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   1 appeals, within ten days of Final Approval, all without any award of attorneys’ fees or costs

   2 except as expressly provided in the Agreement and in this Final Order and Judgment.

   3            16.        The terms of the Agreement and this Final Order and Judgment shall be forever

   4 binding on, and shall have res judicata effect in any pending or future lawsuits or proceedings that

   5 may be brought or maintained by or on behalf of any Plaintiff Settlement Class members. Subject

   6 to this Court’s continuing jurisdiction to enforce the settlement, this Court hereby bars and

   7 enjoins: all Plaintiff Settlement Class members, and all persons acting on behalf of, or in concert

   8 or participation with, such Plaintiff Settlement Class members, from filing, commencing,

   9 prosecuting, intervening in, or participating in, any lawsuit in any jurisdiction on behalf of any
  10 Plaintiff Settlement Class member, to the extent provided in Section 4.01 of the Agreement.

  11            17.        Attached to this Final Order and Judgment as Exhibit 1 is a true and correct list of
  12 all Plaintiff Settlement Class members who timely opted out. No Plaintiff Settlement Class

  13 members, other than those listed in Exhibit 1, are excluded from the Plaintiff Settlement Class, or

  14 from the effect of this Final Order and Judgment.

  15            18.        It is expressly determined that there is no just reason for delay and the entry of this

  16 Final Order and Judgment expressly is hereby directed. In the event that this Final Order and
  17 Judgment is appealed, its mandate will automatically be stayed until and unless the Final Order

  18 and Judgment is affirmed in its entirety by the court of last resort to which such appeal(s) has

  19 (have) been taken and such affirmance is no longer subject to further appeal or review.

  20            19.        Neither this Final Order and Judgment nor the Agreement is an admission or

  21 concession by AmeriCredit of any fault, omission, liability, or wrongdoing. This Final Order and

  22 Judgment is not a finding of the validity or invalidity of any claims in this consolidated Action or

  23 in the AmeriCredit NOI Cases, or a determination of any wrongdoing by anyone. The final

  24 approval of the Agreement does not constitute any opinion, position, or determination of this

  25 Court, one way or the other, as to the merits of the claims and defenses of the Representative

  26 Plaintiffs, the Plaintiff Settlement Class members, or AmeriCredit. Neither this order, the
  27 judgment, the Agreement, nor any document referred to herein, nor any action taken to carry out

  28 the Agreement is, may be construed as, or may be used as an admission by or against AmeriCredit

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   1 or Related Parties of any fault, wrongdoing or liability whatsoever. Entering into or carrying out

   2 the Agreement and the exhibits, any negotiations or proceedings related thereto shall not in any

   3 event be construed as, or deemed to be evidence of, an admission or concession with regard to the

   4 denials or defenses by AmeriCredit and shall not be offered in evidence in any action or

   5 proceeding against AmeriCredit or Related Parties in any court, administrative agency, or other

   6 tribunal for any purpose whatsoever other than to enforce the provisions of this order, the

   7 Agreement, the judgment, or the releases.

   8            20.        This Final Order and Judgment is final for purposes of appeal and may be appealed,

   9 and the Clerk is hereby directed to enter Judgment thereon.
  10            21.        Attorneys’ fees and reimbursement of expenses to counsel for the Plaintiff

  11 Settlement Class in the amount of $3,275,000, and incentive payments to Representative Plaintiffs

  12 of $10,000 each to Class Representatives Aho and Bankston, and $5,000 each to Class

  13 Representatives Machado, the Cardenas’s (collectively), and Smith, are hereby approved as fair

  14 and reasonable and AmeriCredit shall make such payments in accordance with the terms of the

  15 Agreement.

  16            22.        The recipients of any cy pres funds remaining after distribution pursuant to Section
  17 3.11 of the Agreement are designated to be, in equal shares, pursuant to Section 3.16 of the

  18 Agreement: C.A.R.S.; the San Diego Legal Aid Society; Alexander Community Law Center; East

  19 Bay Community Law Center; Watsonville Law Clinic; the Inner City Law Center-LA; BASF

  20 VLSP; Inland Counties Legal Services, Inc.; San Diego Volunteer Lawyers Project; and Central

  21 California Legal Services, Inc.

  22            23.        The one objection to the settlement is overruled.

  23            24.        In the event that the settlement does not become effective in accordance with the

  24 terms of the Agreement, then this judgment shall be rendered null and void and be vacated and the

  25 Agreement and all orders entered in connection therewith shall be rendered null and void.

  26            25.        The Parties are directed to carry out their obligations under the Agreement.
  27            26.        Jurisdiction is hereby reserved by this Court to assure compliance with all terms of

  28 this settlement, in accordance with the Agreement and this Final Order and Judgment.

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   1            27.        Plaintiffs’ Counsel shall serve a copy of this order on all named parties or their

   2 counsel within seven (7) days of receipt.

   3 SO ORDERED

   4 Dated: October 5, 2012                               __
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   1                                             EXHIBIT 1
   2                LIST OF CLASS MEMBERS WHO TIMELY REQUESTED EXCLUSION

   3                       1.   RAMON M. BARRON

   4                       2.   JOSE JUAN DIAZ

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